     Case 3:17-cv-00439-JWD-EWD   Document 172   07/29/19 Page 1 of 3



                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF LOUISIANA

LEROY TENNART, ET AL.                             CIVIL ACTION

VERSUS                                            NO. 17-179-JWD-EWD

CITY OF BATON ROUGE, ET AL.


MAX GELLER                                        CIVIL ACTION

VERSUS                                            NO. 17-324-JWD-EWD

CITY OF BATON ROUGE, ET AL.


NIKOLE SMITH, ET AL.                              CIVIL ACTION

VERSUS                                            NO. 17-436-JWD-EWD

CITY OF BATON ROUGE, ET AL.


SHONTA JACKSON                                    CIVIL ACTION

VERSUS                                            NO. 17-438-JWD-EWD

CITY OF BATON ROUGE, ET AL.


BLAIR IMANI, ET AL.                               CIVIL ACTION

VERSUS                                            NO. 17-439-JWD-EWD

CITY OF BATON ROUGE, ET AL.


LISA BATISTE-SWILLEY                              CIVIL ACTION

VERSUS                                            NO. 17-443-JWD-EWD

CITY OF BATON ROUGE, ET AL.
           Case 3:17-cv-00439-JWD-EWD                   Document 172           07/29/19 Page 2 of 3



                             ORDER SETTING STATUS CONFERENCE

           On January 23, 2019, counsel for the parties participated in a discovery conference before

Magistrate Judge Erin Wilder-Doomes to discuss the scope of discovery that would be allowed at

this stage of these proceedings.1 Prior to the conference, the parties submitted proposed written

discovery requests2 limited to information necessary to resolve the issues deferred in the pending

Motions to Dismiss.3 Since the January 23, 2019 conference, plaintiffs in certain of the above-

captioned actions4 have asserted that they need additional discovery to respond to Motions for

Summary Judgment filed by certain Louisiana State Police (“LSP”) troopers in the Tennart,5




1
    See, Tennart v. City of Baton Rouge, et al., No. 17-cv-179-JWD-EWD (“Tennart”), R. Docs. 198 & 199.
2
 Tennart, R. Doc. 197; Geller v. City of Baton Rouge, et al., Civil Action No. 17-324-JWD-EWD (“Geller”), R. Docs.
120 & 123; Nikole Smith, et al. v. City of Baton Rouge, et al., Civil Action No. 17-436-JWD-EWD (“Smith”), R. Doc.
129; Shonta Jackson, o/b/o her minor daughter, A.R. v. City of Baton Rouge, et al., Civil Action No. 17-438-JWD-
EWD (“Jackson”), R. Doc. 74; Imani, et al. v. City of Baton Rouge, et al., Civil Action No. 17-439-JWD-EWD
(“Imani”), R. Doc. 155; Batiste-Swilley v. City of Baton Rouge, et al., Civil Action No. 17-443-JWD-EWD (“Batiste-
Swilley”), R. Doc. 127.
3
 Tennart, R. Doc. 190; Geller, R. Doc. 115; Smith, R. Doc. 126; Jackson, R. Doc. 71; Imani, R. Doc. 148; Batiste-
Swilley, R. Doc. 124.
4
 Based on the Court’s review of the dockets, it does not appear that plaintiffs in Geller or Jackson have asserted the
need for additional discovery.
5
  In Tennart, this Court stayed discovery, with the exception of written discovery between Plaintiffs and parties other
than the East Baton Rouge Sheriff’s Office (“EBRSO”) Defendants and the Livingston Parish Sheriff’s Office
(“LPSO”) Defendants pending resolution of the issues raised in the Motions to Dismiss. Tennart, R. Doc. 162.
Following the January 23, 2019 conference, certain Louisiana State Police (“LSP”) troopers moved for summary
judgment. Tennart, R. Doc. 205. In opposition to the Motion for Summary Judgment, Plaintiffs argue, inter alia, that
“Plaintiffs have not had the opportunity to fully contest LSP Movants’ assertions through depositions, nor have
Plaintiffs had sufficient opportunity to propound discovery.” Tennart, R. Doc. 211, p. 12.
          Case 3:17-cv-00439-JWD-EWD                    Document 172           07/29/19 Page 3 of 3



Smith,6 and Batiste-Swilley,7 as well as a Motion to Dismiss filed by EBRSO Defendants8 in

Imani.9

          IT IS HEREBY ORDERED that a status conference is SET for Wednesday, August 7,

2019 at 2:00 p.m. before the undersigned Magistrate Judge at the Russell B. Long Federal

Building and Courthouse, 777 Florida Street, Courtroom Number 5, in Baton Rouge, Louisiana to

discuss the status of discovery.

          Signed in Baton Rouge, Louisiana, on July 26, 2019.



                                                      S
                                                      ERIN WILDER-DOOMES
                                                      UNITED STATES MAGISTRATE JUDGE




6
  In Smith, this Court stayed discovery, with the exception of written discovery between Plaintiffs and defendants
other that the EBRSO Defendants and the LPSO Defendants pending resolution of the issues raised in the Motion to
Dismiss. Smith, R. Doc. 109. Following the January 23, 2019 conference, certain Louisiana State Police (“LSP”)
troopers moved for summary judgment. Smith, R. Doc. 142. In opposition to the Motion for Summary Judgment,
Plaintiffs argue, inter alia, that “Plaintiffs have not had the opportunity to fully contest LSP Movants’ assertions
through depositions, nor have Plaintiffs had sufficient opportunity to propound discovery.” Smith, R. Doc. 148, p. 11.
7
  In Batiste-Swilley, this Court stayed discovery, with the exception of written discovery between Plaintiff and
defendants other than the EBRSO Defendants and the LPSO Defendants pending resolution of the issues raised in the
Motions to Dismiss. Batiste-Swilley, R. Doc. 104. Following the January 23, 2091 conference, certain Louisiana
State Police (“LSP”) troopers moved for summary judgment. Batiste-Swilley, R. Doc. 134. In opposition to the
Motion for Summary Judgment, Plaintiff argues, inter alia, that “Plaintiff has not had the opportunity to fully contest
the Defendants’ assertions through depositions, nor has Plaintiff had sufficient opportunity to propound discovery.”
Batiste-Swilley, R. Doc. 142, p. 10.
8
  The Court notes that the “EBRSO Defendants” as a collective term may vary as between the above-captioned actions
to the extent, for example, that individual officers are named as defendants.
9
  In Imani, this Court stayed discovery, with the exception of written discovery between Plaintiffs and defendants
other than the EBRSO Defendants pending resolution of the issues raised in the Motion to Dismiss. Imani, R. Doc.
118. Following the January 23, 2019 conference, the EBRSO Defendants filed a Motion to Dismiss. Imani, R. Doc.
164. In opposition to the Motion to Dismiss, Plaintiffs argue that the EBRSO Defendants’ “Motion is premature as
discovery is still ongoing and Plaintiffs are seeking further discovery from all Defendants for other evidence of which
officers failed to intervene and prevent Plaintiffs’ unconstitutional arrests. Not until this and any other relevant
discovery is completed, does Plaintiffs’ 30-day clock start. Defendants’ Motion should be dismissed and Plaintiffs
should be allowed to complete discovery into whether individual officers failed to intervene.” Imani, R. Doc. 168, p.
2.
